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                                                                                  United States Bankruptcy Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                       IN THE UNITED STATES BANKRUPTCY COURT                             July 22, 2024
                         FOR THE SOUTHERN DISTRICT OF TEXAS                           Nathan Ochsner, Clerk
                                  HOUSTON DIVISION


In Re:                                            §        Case No. 24-30092-H5-7
                                                  §
           Mark Austin Rosetta,                   §        (Chapter 7)
                                                  §
                  Debtor.                         §        Judge Jeffrey P. Norman



           ORDER GRANTING APPLICATION TO EMPLOY AND COMPENSATE
                           REAL ESTATE BROKER
                            (Related to Docket No. 73)

           ON THIS DAY came on to be considered the Application to Employ and Compensate

Kevin Riles Real Estate Agent and Kevin Riles Commercial Broker (the “Application”) and after

reviewing the pleadings; it is

           ORDERED that the Application is granted; it is further

           ORDERED that Allison D. Byman, Chapter 7 Trustee, be and is hereby authorized to

employ Kevin Riles as Real Estate Agent and Kevin Riles Commercial as Broker; it is further;

           ORDERED that Kevin Riles will act only on behalf of the Trustee in relation to selling

the Real Property and will not represent any buyer in relation to selling the Real Property; it is

further;

           ORDERED that Allison D. Byman, Chapter 7 Trustee, is hereby authorized to enter into

the Residential Real Estate Listing Agreement Exclusive Right to Sell agreements attached to the

Application under the terms and conditions set forth therein and as described in the Application,

and it is further;
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       ORDERED that Allison D. Byman, Chapter 7 Trustee, is hereby authorized to execute all

documents necessary to carry out the intent of this Order and the Application.




                                         Jeffrey P. Norman
            July 22,04,
              April  2024
                        2018
                                         UNITED STATES BANKRUPTCY JUDGE
